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                          s/ Harold C. Hirshman




                     /s/ John Baldwin
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

ASHOOR RASHO, #B-38970,                   )
                                          )
       Plaintiff,                         )
vs.                                       )       CIVIL NO. 07-1298
                                          )
ROGER WALKER, et al.,                     )
                                          )
       Defendants.                        )

                              CERTIFICATE OF SERVICE

        I hereby certify that on May 10, 2016, I electronically filed the proposed Settlement
Agreement (Executed) with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

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                                                  Respectfully submitted,

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